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                                No. 12-16373
                 UNITED STATES COURT OF APPEALS
                         FOR THE NINTH CIRCUIT


  In re: APPLICATION FOR EXEMPTION FROM ELECTRONIC PUBLIC
    ACCESS FEES BY JENNIFER GOLLAN AND SHANE SHIFFLETT,


                JENNIFER GOLLAN; SHANE SHIFFLETT,
                            Applicants-Appellants.


              On Appeal from the United States District Court
                  for the Northern District of California
                       D.C. No. 3:12-mc-80113-JW
                         (Honorable James Ware)
        __________________________________________________
             APPLICANT-APPELLANTS’ MOTION
         TO EXTEND TIME TO FILE OPENING BRIEF;
  DECLARATIONS OF THOMAS R. BURKE, ROCHELLE L. WILCOX
      __________________________________________________
THOMAS R. BURKE (SB# 141930)               JUDY ALEXANDER (SB# 116515)
 thomasburke@dwt.com                        jalexander@judyalexander.com
ROCHELLE L. WILCOX (SB# 197790)            2302 Bobcat Trail
 rochellewilcox@dwt.com                    Soquel, CA 95073
DAVIS WRIGHT TREMAINE LLP                  Telephone: (831) 462-1692
505 Montgomery Street, Suite 800
San Francisco, California 94111
Telephone: (415) 276-6500
Facsimile: (415) 276-6599
                   Attorneys for Applicants-Appellants
               JENNIFER GOLLAN and SHANE SHIFFLETT




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                    MOTION FOR EXTENSION OF TIME

      Applicants-Appellants Jennifer Gollan and Shane Shifflett (“Appellants”)

hereby move this Court, pursuant to Federal Rule of Appellate Procedure 26(b) and

Circuit Rule 31-2.2(b), for an extension of the date by which they must file their

Opening Brief in this appeal, from September 20, 2012, to and including October

22, 2012. This is Appellants’ first request for an extension of time to file the

Opening Brief and no additional extensions are contemplated.

      In this case, the United States District Court for the Northern District of

California is, technically, the Appellee. Appellants’ attorney spoke with Lynn

Fuller, the Court’s Operations Analyst, on Wednesday, September 5, 2012, to

determine who at the Court will speak on the Court’s behalf. Declaration of

Rochelle L. Wilcox (“Wilcox Decl.”) ¶ 3. On September 12, 2012, Appellants’

counsel was advised that she should communicate with the Chief Judge’s chambers

related to this matter, and left a voicemail message for the Court. Id. The Court

had not yet responded when this Motion was filed. Id.

      Substantial need exists for granting the extension because Appellants cannot

prepare and file the Opening Brief by September 20, 2012, the current due date, as

a consequence of the work load and scheduling conflicts of the attorneys who will

be responsible for preparing the Opening Brief.




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      1.     On June 13, 2012, this Court issued an order setting a briefing

schedule under which the Opening Brief is due on September 20, 2012 (and no

other briefs are scheduled to be filed).

      2.     Thomas R. Burke, a partner with Davis Wright Tremaine LLP, is the

attorney of record representing Appellants in connection with this appeal. Over the

last several months, Mr. Burke has worked an exhaustive schedule in cases for

which he served as lead counsel and in conjunction with a book he is preparing for

the Rutter Group (as discussed further below). Declaration of Thomas R. Burke

(“Burke Decl.”) ¶ 3. He worked more than 300 hours in June, more than 375 hours

in July, and more than 160 hours in August (in addition to taking a two-week pre-

scheduled vacation that month). He has had no time to devote to the briefing in

this matter. The primary matters on which he has worked over the past several

months, and will work over the next month, are as follows:

             a. Since the Fall of 2011, Mr. Burke has been working on a

                California Practice Guide for The Rutter Group on California’s

                anti-SLAPP statute, Code of Civil Procedure § 425.16. Id. ¶ 4.a.

                Although Mr. Burke was contractually obligated to deliver the

                book by August 1, 2012, a deadline set months before the Court

                issued the briefing schedule in this case, due to other demands over

                the summer he was unable to meet that deadline and was required



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       to obtain an extension. Id. Mr. Burke is continuing to work on the

       book and is devoting as much time as possible every week to

       enable the book to be published this Fall, as contemplated by the

       publisher.

    b. Mr. Burke is lead counsel for The First Amendment Coalition in a

       Freedom of Information Act lawsuit against the Department of

       Justice seeking access to a legal memorandum justifying the

       extrajudicial killing of United States citizens abroad. Id. ¶ 4.b.

       Over the past month, he has been required to spend a large amount

       of time in connection with cross-motions for summary judgment,

       and currently must file the primary brief on October 5, 2012.

    c. Mr. Burke is also counsel in the matter of Hardin v. Palo Alto

       Medical Foundation, Inc., Alameda County Superior Court Case

       No. RG11600291, in which he recently filed a Special Motion to

       Strike, which is scheduled to be heard on October 9, 2012. Id.

       ¶ 4.c. Mr. Burke devoted considerable time in August to prepare

       the Special Motion to Strike, the filing of which was subject to a

       statutory deadline. Id.

    d. Mr. Burke is also lead counsel for the Respondents in City of

       Redding v. American Civil Liberties Union of Northern California,



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       California Court of Appeal, Third Appellate District, Case Nos.

       C068873 & C068866, in an appeal that on August 28, 2012, was

       set for argument on September 21, 2012, in the court of appeal. Id.

       ¶ 4.d. Mr. Burke will be assisting a colleague to prepare for the

       oral argument, which will be her first, and to be prepared to

       address any issues raised at argument. Id.

    e. Mr. Burke is also lead counsel for Defendants in Young v. CBS

       Broadcasting, Inc., California Court of Appeal, Third Appellate

       District, Case No. C064567, a complex libel lawsuit which the

       court of appeal has also recently set for argument on October 22,

       2012. Id. ¶ 4.e. This matter has been pending in the appellate

       court for nearly two years and Mr. Burke will be devoting

       considerable time in September and October to prepare for this

       argument. Id.

    f. Mr. Burke was out of the country on a pre-planned trip to be with

       his family in rural Brazil from July 31, 2012, to August 16, 2012.

       Mr. Burke purchased non-refundable airplane tickets for this trip

       before this Court issued the briefing schedule. Id. ¶ 4.f. Even with

       this trip, he billed more than 160 hours in August. Id. ¶ 3.




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         3.    Rochelle Wilcox, a partner with Davis Wright Tremaine LLP who is

the primary attorney working with Mr. Burke in the briefing for this appeal, has

been extremely busy working to prepare a large case for trial. The trial initially

was scheduled for September 19, 2012, but recently was continued for four weeks,

to October 17th. Because of the demands of that trial, she has not been able to

spend any time preparing the Opening Brief in this matter. Wilcox Decl. ¶ 2.

         Ninth Circuit Rule 31-2.2(b) provides that an extension of time may be

granted “upon written motion supported by a showing of diligence and substantial

need.” Counsel for APPELLANTS have exercised diligence, but given Mr.

Burke’s and Ms. Wilcox’s busy schedules and pre-existing scheduling conflicts,

substantial need exists for extension of the deadline to file Appellants’ Opening

Brief.

         In addition, counsel have not yet received the reporter’s transcript for the

single hearing at issue in this matter, which was held on April 30, 2012, and they

understand that the court reporter is on a medical leave of absence and therefore

unable to prepare the transcript. Wilcox Decl. ¶ 4.

         Accordingly, Appellants respectfully request that the Court grant an

extension of time to file their Opening Brief, from September 20, 2012, to October

22, 2012. Appellants represent that the Brief will be filed within the time




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requested and, assuming that Appellants timely receive the designated reporter’s

transcript, no further requests for extension of time are contemplated.

      RESPECTFULLY SUBMITTED this 13th day of September, 2012.

                                       LAW OFFICES OF JUDY ALEXANDER
                                       JUDY ALEXANDER

                                       DAVIS WRIGHT TREMAINE LLP
                                       THOMAS R. BURKE
                                       ROCHELLE L. WILCOX

                                       By /s/ Thomas R. Burke
                                                 Thomas R. Burke

                                       Attorneys for Applicants-Appellants
                                       JENNIFER GOLLAN and SHANE SHIFFLETT




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                   DECLARATION OF THOMAS R. BURKE
      1.     I am an attorney admitted to practice before the courts of the State of

California and before this Court. I am a partner in the law firm of Davis Wright

Tremaine LLP, and lead counsel in this matter for Applicants-Appellants

JENNIFER GOLLAN and SHANE SHIFFLETT (“Appellants”). I have personal

knowledge of the matters stated below. I submit this declaration pursuant to

Circuit Rule 31-2.2(b) in support of Appellants’ motion for an extension of the

date that its Opening Brief is due in this appeal.

      2.     This is Appellants’ first request for an extension of time to file their

Opening Brief. Under the Time Schedule Order issued by this Court for this

appeal on June 13, 2012, Appellants’ Opening Brief originally was due on

September 20, 2012. Appellants request an extension of time, to and including

October 22, 2012, to file their Opening Brief.

      3.     Over the past few months, I have worked an exhaustive schedule in

cases for which I served as lead counsel, as well as in my work preparing a book

for the Rutter Group, as co-chair of my firm’s media law practice and with other

practice commitments. I worked more than 300 hours in June, more than 375

hours in July, and more than 160 hours in August (in addition to taking a two-week

pre-scheduled vacation that month). Thus, I have had no time to devote to the

briefing in this matter.


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      4.    The primary matters on which I have worked over the past several

months, and will work over the next month, are as follows:

            a. Since the Fall of 2011, on my own, I have been working on a

               California Practice Guide for The Rutter Group on California’s

               anti-SLAPP statute, Code of Civil Procedure § 425.16. Although I

               was contractually obligated to deliver the book by August 1, 2012,

               a deadline set months before the Court issued the briefing schedule

               in this case, due to other demands over the summer I was unable to

               meet that deadline and was required to obtain an extension. I am

               continuing to work on the book and devoting as much time as

               possible every week to enable the book to be published this Fall, as

               contemplated by the publisher.

            b. I am lead counsel for The First Amendment Coalition in a

               Freedom of Information Act lawsuit against the Department of

               Justice seeking access to a legal memorandum justifying the

               extrajudicial killing of United States citizens abroad. Over the past

               month, I have been required to spend a large amount of time in

               connection with cross-motions for summary judgment, and

               currently must file the primary brief on October 5, 2012.




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     c. I am also counsel in the matter of Hardin v. Palo Alto Medical

        Foundation, Inc., Alameda County Superior Court Case No.

        RG11600291, in which I recently filed a Special Motion to Strike,

        which is scheduled to be heard on October 9, 2012. I devoted

        considerable time in August to prepare the Special Motion to

        Strike, the filing of which was subject to a statutory deadline.

     d. I am also lead counsel for the Respondents in City of Redding v.

        American Civil Liberties Union of Northern California, California

        Court of Appeal, Third Appellate District, Case Nos. C068873 &

        C068866, in an appeal that on August 28, 2012, was set for

        argument on September 21, 2012, in the court of appeal. I will be

        assisting a colleague to prepare for the oral argument, which will

        be her first, and to be prepared to address any issues raised at

        argument.

     e. I am also lead counsel for Defendants in Young v. CBS

        Broadcasting, Inc., California Court of Appeal, Third Appellate

        District, Case No. C064567, a complex libel lawsuit which the

        court of appeal has also recently set for argument on October 22,

        2012. This matter has been pending in the appellate court for




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                nearly two years and I will be devoting considerable time in

                September and October to prepare for this argument.

            f. I was out of the country on a pre-planned trip to be with my family

                in rural Brazil from July 31, 2012, to August 16, 2012. I

                purchased non-refundable airplane tickets for this trip before this

                Court issued the briefing schedule. Even with this trip, I billed

                more than 160 hours in August.

      I declare under penalty of perjury under the laws of the United States of

America that that this declaration was executed on the 13th day of September,

2012 at Washington, D.C., and that the foregoing is true and correct.


                                              /s/ Thomas R. Burke_____
                                                     Thomas R. Burke




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                DECLARATION OF ROCHELLE L. WILCOX
      I, Rochelle L. Wilcox, declare:

      1.     I am an attorney admitted to practice before the courts of the State of

California and before this Court. I am a partner in the law firm of Davis Wright

Tremaine LLP, and am one of the attorneys representing Applicants-Appellants

JENNIFER GOLLAN and SHANE SHIFFLETT (“Appellants”) in this matter. I

have personal knowledge of the matters stated below. I submit this declaration

pursuant to Circuit Rule 31-2.2(b) in support of Appellants’ motion for an

extension of the date that its opening brief is due in this appeal.

      2.     Over the past few months, my schedule has been extremely busy,

largely due to my participation in a case that was, until last week, scheduled to be

tried on September 19, 2012. Last week, it was rescheduled to October 17, 2012.

The trial currently is expected to last several weeks, and has required an extensive

amount of my time in pre-trial and discovery issues. Given these demands, I did

not have available time necessary to prepare and file the Opening Brief in this case

during this period.

      3.     I spoke with Lynn Fuller, the Operations Analyst for the Northern

District of California, on Wednesday, September 5, 2012, to determine who at the

Court would speak on the Court’s behalf. On September 12, 2012, Ms. Fuller

advised me that we should communicate with the Chief Judge’s chambers related



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to this matter. I left a voicemail message for the Court. The Court has not yet

responded to my voicemail inquiry.

      4.     On July 6, 2012, Appellants designated a transcript from the

proceedings held on April 30, 2012. On information and belief, the court reporter

is on a medical leave of absence and has not yet prepared the designated transcript.

      I declare under penalty of perjury under the laws of the United States of

America that that this declaration was executed on 13th day of September, 2012 at

Roseville, California and that the foregoing is true and correct.


                                               /s/ Rochelle L. Wilcox_____________
                                                      Rochelle L. Wilcox




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